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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 HB Productions, Inc.,                              Case No.: 2:19-cv-1849-APG-EJY

 4                            Plaintiffs,             ORDER DISMISSING CASE

 5 v.                                                          (ECF No. 8)

 6 DOE Defendants 1-5,

 7                            Defendants.

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 9         On April 14, 2020, the plaintiff was advised that this action would be dismissed without

10 prejudice unless by May 14, 2020 it filed proper proof of service or showed good cause why

11 service was not made. ECF No. 8. The plaintiff has failed to file proof of service nor shown

12 good cause. Nor has the plaintiff shown cause why this action should not be dismissed without

13 prejudice for failure to effect timely service as required by Federal Rule of Civil Procedure 4(m).

14         I HEREBY dismiss this action without prejudice.

15         Dated: May 15, 2020.

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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